Case 3:17-cv-00072-NKM-JCH Document 98-1 Filed 11/13/17 Page 1 of 2 Pageid#: 436




                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                              Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                           Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,                        JURY TRIAL DEMANDED
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                              Defendants.


             [PROPOSED] ORDER GRANTING DOE PLAINTIFFS’
  MOTION TO PROCEED UNDER PSEUDONYMS AND MEMORANDUM IN SUPPORT

        Plaintiffs’ John Doe, Jane Doe 1, Jane Doe 2, and Jane Doe 3 (collectively “Doe

  Plaintiffs”) submitted their Motion to Proceed Under Pseudonyms and Memorandum in
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  Support (“Motion”) with this Court on November 13, 2017. The Court, being sufficiently

  advised, has considered this Motion and argument, and for good cause shown, GRANTS this

  Motion.

         IT IS HEREBY ORDERED that the Doe Plaintiffs may continue to proceed

  anonymously throughout this litigation. The Clerk of this Court is hereby directed to send a

  certified copy of this Order to all parties and/or counsel of record.

         IT IS SO ORDERED.

         Entered this ____ day of November, 2017.



                                                 ____________________________
                                                 The Honorable Norman K. Moon
                                                 United States District Judge




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